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 Child Find

      ● Child Find is a legal requirement that schools find all children who have disabilities and
         who may be entitled to special education services.
      ● Any person from a school team can initiate a request to determine if a student is eligible
         for a special education evaluation, however, every school has special education ancillary
         staff to work with for any and all students who may be struggling with academic and/or
         social/emotional issues.
      ● All requests may not initiate a special education evaluation, however, ​all requests by
         school teams or a parent request in writing, ​must be addressed and responded to by school
         staff, i.e. school psychologist.
      ● Child Find covers every child from birth through age 25.
      ● The school must evaluate any child that it knows or suspects may have a disability.
 KPS Students Services Handbook Child Find Procedures -
 “​As part of IDEA and the Michigan Revised School Code, if a staff member receives a written
 request from a parent or guardian to evaluate their child for special education eligibility, then
 the school psychologist, speech therapist, or Student Services must be notified within 24 hours.
 The school psychologist or speech therapist need to meet with the parent/guardian within 10
 school days to conduct a REED. The parent/guardian must sign for the evaluation being
 proposed. This includes Child Find efforts involving any student suspected of having a
 disability or having a disability who is in need of special education and related services. The
 consent for evaluation must be signed from the parent to proceed with conducting the
 evaluation. If staff members determine that an evaluation is not needed, then written support
 for refusing the evaluation must be made. Staff members need to notify a Student Services
 administrator if this occurs to review the written notice before it is sent to the
 parent/guardian.”



 Multi-Tiered System of Support (MTSS)/Response to Intervention (RtI)
 School districts use the school improvement process to build an infrastructure of
 evidence-based, system-wide practices to ensure that every student achieves to high standards.
 This includes ongoing monitoring of the effectiveness of instruction and intervention with
 rapid response to academic and behavioral needs. The term MTSS refers to a comprehensive
 system that includes both RTI and PBIS initiatives. The term MTSS is now used broadly at both
 federal and state levels.




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 Multi-Tiered System of Supports (MTSS) is a ​framework​ to provide ​all students ​with the best
 opportunities to succeed ​academically and behaviorally​ in school. MTSS focuses on:
 • providing high quality instruction and interventions matched to student need;
 • monitoring progress frequently to make decisions about changes in instruction or
 goals;
 • using data to allocate resources to improve student learning;
 • supporting staff implementation of effective practices.

 Prior to special education referrals or services, students need to be given the opportunity to
 succeed in the regular education setting. A team of educators, parents and support personnel
 need to plan interventions, data collection and monitoring through regularly scheduled
 building Child Study Team meetings. Students making progress in the general education
 setting should remain in the setting. Special education services should be a last resort.


 What are the tiers of instruction and intervention in an MTSS system?


                                                      Tiers

        Tier 1        Research-based instruction and classroom interventions that are available to all
                      learners and effectively meet the needs of most

        Tier 2        Supplemental, targeted interventions intended for some learners who require support
                      or extension beyond tier 1

        Tier 3        Intense individual interventions for few learners with highly accelerated, or severe and
                      persistently challenged, academic and/or non-academic needs.


 What is the difference between RtI and MTSS?


                                     RtI                                            MTSS

  Interventions    Academic                                   Academic, Behavioral, Social, Emotional

  Target           Students in danger of failing or           All students
  Audience (in     becoming designated as special
  practice)        education students

  Resources &      Students in the target audience            All students, teachers and support staff
  Support




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  Collaboration    General educators and special             Even greater focus on collaboration between
                   educators work together on Tier 2 & 3     general and special education
                   support

  Focus            Intervention and remediation              Intervention, remediation and a stronger sense of
                                                             prevention

  Problems         Student level problems addressed          Both student and system level problems
  Addressed                                                  addressed

  Intervention     Interventions centered within the         Intervention centered in the school, community
  Universe         school                                    and in the home
 http://onhandschools.com/blog/2017/06/what-difference-between-rti-and-mtss

 Additional Components:



  Positive Behavior Supports




 School Community Collaboration
 Whole Child
 Trauma Informed Practices
 Family Engagement
 Professional Learning and Collaboration



 Child Study Team Process - Example

 THE CHILD STUDY TEAM (CST) PROCESS

 The primary goal of the CST is to arrive at appropriate solutions to students’ problems in the
 school environment through a cooperative effort. The process is one in which information is
 shared and creative strategies/interventions are suggested, implemented, and tracked to
 address an academic, emotional, or medical concern in the regular education setting. Team
 members should include persons who have relevant information to contribute about the
 student. Team members could include general education teachers, social workers, academic
 quality controllers, and special education teachers, among other professionals.




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 CST addresses problems found through concerns brought up by parents, teachers, or staff
 members. The concerned party may complete an initial CST referral form describing in detail
 their concerns with a student. Parents may contact a member of the CST with their concerns to
 be listed on a CST form by that member.

 The CST chair will then schedule a time slot for the student to be discussed at a subsequent CST
 meeting, and will distribute the data gathering forms to appropriate staff members (including
 teachers, counselors, social workers, parents, etc.)
 Prior to the child study team meeting, the classroom teacher will be responsible for completing
 a Child Study Team Request Form, which documents their concerns about the student, what
 methods and materials have already been tried (including the duration and results of the
 intervention/trial), and a summary of the present level of academic functioning.

 Prior to the meeting, the parent or primary caregiver may be requested to complete a Child
 Study Parent Input Form documenting developmental history, medical status, and
 interventions used within the home setting, and the school social worker will complete a
 Counselor Form including a record search and possibly a Classroom Observation Form.

 During the initial child study team meeting, a review of the area of concern should be
 conducted and recorded in the child study team log/Google document. Data to discuss may
 include: educational history (record of progress, test scores, attendance, and classroom
 behavior), vision and hearing status, speech and language skills, medical history and physical
 status. The classroom teacher, other professionals and/or paraprofessionals should also provide
 work samples or additional achievement information. Once all of the information is gathered,
 suggestions/interventions should be generated for the student based on the student’s age and
 ability level in the regular education setting. When recommendations are made, each assigned
 member will be expected to follow up and keep documentation on the student’s response to the
 intervention. It is important to note that the CST’s role is to be a support and resource to the
 teacher-not to replace or relieve the teacher of his/her responsibility for educating the child. It
 is expected that for the process to work everyone involved must do their part.


 A follow up Child Study Team meeting will be scheduled at the initial or other meetings that
 may follow. At the follow up meeting(s), the results of the attempted suggestions/interventions
 will be evaluated, and the team members will decide if further adaptations or modifications are
 necessary.

 Confidentiality is a very important aspect of the Child Find / Study process. As part of the Child
 Study process you may have access to information pertaining to individual students, including
 medical documents, intervention plans, cumulative school records. All information is
 confidential.




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